Case 1:22-cv-01121-RGA Document 10-1 Filed 09/19/22 Page 1 of 23 PageID #: 326
Case 1:22-cv-01121-RGA Document 10-1 Filed 09/19/22 Page 2 of 23 PageID #: 327
Case 1:22-cv-01121-RGA Document 10-1 Filed 09/19/22 Page 3 of 23 PageID #: 328
Case 1:22-cv-01121-RGA Document 10-1 Filed 09/19/22 Page 4 of 23 PageID #: 329
Case 1:22-cv-01121-RGA Document 10-1 Filed 09/19/22 Page 5 of 23 PageID #: 330
Case 1:22-cv-01121-RGA Document 10-1 Filed 09/19/22 Page 6 of 23 PageID #: 331
Case 1:22-cv-01121-RGA Document 10-1 Filed 09/19/22 Page 7 of 23 PageID #: 332
Case 1:22-cv-01121-RGA Document 10-1 Filed 09/19/22 Page 8 of 23 PageID #: 333
Case 1:22-cv-01121-RGA Document 10-1 Filed 09/19/22 Page 9 of 23 PageID #: 334
Case 1:22-cv-01121-RGA Document 10-1 Filed 09/19/22 Page 10 of 23 PageID #: 335
Case 1:22-cv-01121-RGA Document 10-1 Filed 09/19/22 Page 11 of 23 PageID #: 336
Case 1:22-cv-01121-RGA Document 10-1 Filed 09/19/22 Page 12 of 23 PageID #: 337
Case 1:22-cv-01121-RGA Document 10-1 Filed 09/19/22 Page 13 of 23 PageID #: 338
Case 1:22-cv-01121-RGA Document 10-1 Filed 09/19/22 Page 14 of 23 PageID #: 339
Case 1:22-cv-01121-RGA Document 10-1 Filed 09/19/22 Page 15 of 23 PageID #: 340
Case 1:22-cv-01121-RGA Document 10-1 Filed 09/19/22 Page 16 of 23 PageID #: 341
Case 1:22-cv-01121-RGA Document 10-1 Filed 09/19/22 Page 17 of 23 PageID #: 342
Case 1:22-cv-01121-RGA Document 10-1 Filed 09/19/22 Page 18 of 23 PageID #: 343
Case 1:22-cv-01121-RGA Document 10-1 Filed 09/19/22 Page 19 of 23 PageID #: 344
Case 1:22-cv-01121-RGA Document 10-1 Filed 09/19/22 Page 20 of 23 PageID #: 345
Case 1:22-cv-01121-RGA Document 10-1 Filed 09/19/22 Page 21 of 23 PageID #: 346
Case 1:22-cv-01121-RGA Document 10-1 Filed 09/19/22 Page 22 of 23 PageID #: 347
Case 1:22-cv-01121-RGA Document 10-1 Filed 09/19/22 Page 23 of 23 PageID #: 348
